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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

 WILLIAM BORDEN,

                       Plaintiff,                   CIVIL ACTION NO. 4:23-CV-01486

        v.                                                  (MEHALCHICK, J.)

 MAINLINE CONVEYOR SYSTEMS,
 INC.,

                       Defendant.


                                     MEMORANDUM

       Before the Court are four motions in limine filed by Plaintiff William Borden

(“Borden”) in anticipation of trial. (Doc. 29; Doc. 30; Doc. 31; Doc. 32). Borden’s motions

in limine seek to preclude (1) certain testimony by George J. Wharton (“Wharton”), the

engineering expert offered by Defendant Mainline Conveyor System, Inc. (“Mainline”)

(Doc. 29); (2) evidence of product misuse or highly reckless conduct (Doc. 30); (3) evidence

of assumption of risk (Doc. 31); and (4) evidence that Borden was convicted of driving under

the influence. (Doc. 32). For the following reasons, the motions will be GRANTED in part

and DENIED in part.

 I.    BACKGROUND AND PROCEDURAL HISTORY

       Borden initiated this action on August 10, 2023, by filing a complaint in the

Pennsylvania Court of Common Pleas of Tioga County. (Doc. 1-2). On September 7, 2023,

Mainline removed this case to this Court due to diversity jurisdiction. (Doc. 1). Borden alleges

that while at work at a facility owned by his employer, Tyoga Container Company, Inc.

(“Tyoga”), on July 21, 2022, he stepped on a mesh belt conveyor manufactured by Mainline

that then activated and threw Borden off the conveyor, allegedly leaving him with severe
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lacerations on his left knee and lower extremity. (Doc. 1-2, at 4-7). Borden alleges that

Mainline is strictly liable under Pennsylvania law for manufacturing a defective and

unreasonably dangerous product.1 (Doc. 1-2, at 13-16).

       Borden filed the motions in limine and briefs in support of the motions on June 23rd

and June 24th, 2025. (Doc. 29; Doc. 30; Doc. 31; Doc. 32; Doc. 33; Doc. 34; Doc. 35; Doc.

36). On July 7th, 2025, Mainline filed responses and briefs in oppositions to the motions. (Doc.

38; Doc. 39; Doc. 40; Doc. 41; Doc. 42; Doc. 43). On July 11, 2025, Borden filed reply briefs

regarding his second and third motions in limine. (Doc. 46; Doc. 47). On July 14, 2025, a final

pretrial conference was held. Trial is scheduled to begin on Monday, August 11, 2025. (Doc.

28).

II.    STANDARD OF REVIEW

       The court is vested with broad inherent authority to manage its cases, which carries

with it the discretion to rule on motions in limine prior to trial. See Luce v. United States, 469

U.S. 38, 41 n.4 (1984); In re Japanese Elec. Prods. Antitrust Litig., 723 F.2d 238, 260 (3d Cir.

1983), rev’d on other grounds sub nom., Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

574 (1986) (noting that the court exercises its discretion to rule in limine on evidentiary issues

“in appropriate cases”). Courts may exercise this discretion in order to ensure that juries are

not exposed to unfairly prejudicial, confusing, or irrelevant evidence. United States v. Romano,

849 F.2d 812, 815 (3d Cir. 1988). Courts may also do so in order to “narrow the evidentiary

issues for trial and to eliminate unnecessary trial interruptions.” Bradley v. Pittsburgh Bd. of

Educ., 913 F.2d 1064, 1069 (3d Cir. 1990) (citation omitted). In considering motions in limine,



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           Borden is withdrawing his negligence and breach of warranty claims. (Doc. 37, at 1).
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which call upon the court to engage in preliminary evidentiary rulings under Rule 403 of the

Federal Rules of Evidence, the Court begins by recognizing that these “evidentiary rulings are

subject to the trial judge’s discretion and are therefore reviewed only for abuse of discretion. . .

Additionally, application of the balancing test under Federal Rule of Evidence 403 will not

be disturbed unless it is ‘arbitrary and irrational.’” Ely v. Cabot Oil & Gas Corp., No. 3:09-CV-

2284, 2016 WL 454817, at *2 (M.D. Pa. Feb. 5, 2016) (citing Abrams v. Lightolier Inc., 50 F.3d

1204, 1213 (3d Cir. 1995) (citations omitted)); see Bernardsville Bd. of Educ. v. J.H., 42 F.3d 149,

161 (3d Cir. 1994) (reviewing in limine rulings for abuse of discretion).

       The Federal Rules of Evidence can be characterized as evidentiary rules of inclusion,

which are designed to broadly permit fact-finders to consider pertinent factual information

while searching for the truth. Ely, 2016 WL 454817, at *3. The grounds for exclusion of

evidence are described as an exception to the general rule favoring admission of relevant

evidence. Ely, 2016 WL 454817, at *3. The court’s discretion in considering evidentiary

rulings should consistently be exercised in a fashion which resolves all doubts in favor of the

admission of relevant proof in a proceeding. Ely, 2016 WL 454817, at *3. Only where the

relevance of that proof is substantially outweighed by some other factors, should admission

be denied. Ely, 2016 WL 454817, at *3. Evidence is “relevant” if its existence simply has “any

tendency to make a fact more or less probable than it would be without the evidence” and

“the fact is of consequence in determining the action.” Fed. R. Evid. 401(a)-(b).

       However, relevant evidence may be excluded “if its probative value is substantially

outweighed by the danger of unfair prejudice.” Fed. R. Evid. 403. The balancing test under

Rule 403 provides as follows:



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        [t]he court may exclude relevant evidence if its probative value is substantially
        outweighed by a danger of one or more of the following: unfair prejudice,
        confusing the issues, misleading the jury, undue delay, wasting time, or
        needlessly presenting cumulative evidence.

        Fed. R. Evid. 403.

        Federal Rule of Evidence 702 governs the admissibility of expert testimony and

requires an expert witness to have “specialized knowledge” regarding the area of testimony.

Rule 702 provides:

        A witness who is qualified as an expert by knowledge, skill, experience,
        training, or education may testify in the form of an opinion or otherwise if:

        (a) the expert’s scientific, technical, or other specialized knowledge will help
            the trier of fact to understand the evidence or to determine a fact in issue;

        (b) the testimony is based on sufficient facts or data;

        (c) the testimony is the product of reliable principles and methods; and

        (d) the expert has reliably applied the principles and methods to the facts of the
            case.

        Fed. R. Evid. 702.

“Rule 702 has three major requirements: (1) the proffered witness must be an expert, i.e., must

be qualified; (2) the expert must testify about matters requiring scientific, technical or

specialized knowledge [, i.e., reliability]; and (3) the expert’s testimony must assist the trier of

fact [, i.e., fit].” United States v. Schiff, 602 F.3d 152, 172 (3d Cir. 2010) (alterations in original)

(quoting Pineda v. Ford Motor Co., 520 F.3d 237, 244 (3d Cir. 2008)).

        In general, the Federal Rules of Evidence embody a strong preference for admitting

any expert evidence that may assist the trier of fact. Fed. R. Evid. 402. Moreover, Rule 702

“has a liberal policy of admissibility.” Kannankeril v. Terminix Int’l, Inc., 128 F.3d 802, 806 (3d

Cir. 1997). First, an expert is qualified if “the witness possess[es] specialized expertise.”

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Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003). The United States

Court of Appeals for the Third Circuit interprets the qualifications requirement liberally, and

notes that “a broad range of knowledge, skills, and training qualify an expert as such.” In re

Paoli R.R. Yard PCB Litig., 35 F.3d 717, 741 (3d Cir. 1994); Betterbox Commc’ns Ltd. v. BB Techs.,

Inc., 300 F.3d 325, 327-28 (3d Cir. 2002) (“[T]his specialized knowledge can be practical

experience as well as academic training and credentials . . . .”). Thus, “it is an abuse of

discretion to exclude testimony simply because the trial court does not deem the proposed

expert to be the best qualified or because the proposed expert does not have the specialization

that the court considers most appropriate.” Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 782

(3d Cir. 1996); see Pineda, 520 F.3d at 244 & n.11 (collecting cases that illustrate the permissive

nature of qualifications requirement). “However, at a minimum, a proffered expert witness

must possess skill or knowledge greater than the average layman.” Betterbox, 300 F.3d at 328

(quotation omitted).

       The second requirement under Rule 702 is that “the process or technique the expert

used in formulating the opinion is reliable.” Paoli, 35 F.3d at 742. Therefore, “the expert’s

opinion must be based on the ‘methods and procedures of science’ rather than on ‘subjective

belief or unsupported speculation’; the expert must have ‘good grounds’ for his or her belief.”

Paoli, 35 F.3d at 742 (quoting Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 590 (1993)).

The Supreme Court noted in Daubert v. Merrell Dow Pharmaceuticals, Inc. that the assessment

of whether testimony is based on a reliable foundation is “flexible.” 509 U.S. at 594.

       The third and last requirement under Rule 702 is “that the expert testimony must fit

the issues in the case.” Schneider, 320 F.3d at 404. This requirement is satisfied where the

“expert testimony proffered. . . is sufficiently tied to the facts of the case that it will aid the
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jury in resolving a factual dispute.” Downing, 753 F.2d at 1242; “Rule 702’s ‘helpfulness’

standard requires a valid scientific connection to the pertinent inquiry as a precondition to

admissibility.” Daubert, 509 U.S. at 591-92. Although the applicable standard for determining

“fit” is “not that high,” it is nonetheless “higher than bare relevance.” Paoli, 35 F.3d at 745.

       As a final note, in performing its gatekeeping function to determine whether an

expert’s proffer is reliable and relevant under Daubert and Rule 702, the trial court “is not to

weigh the evidence relied upon or determine whether it agrees with the conclusions reached

therein.” Walker v. Gordon, 46 F. App’x 691, 695 (3d Cir. 2002) (not precedential) (citing

Breidor v. Sears, Roebuck & Co., 722 F.2d 1134, 1138-39 (3d Cir. 1983) (“Where there is a logical

basis for an expert’s opinion testimony, the credibility and weight of that testimony is to be

determined by the jury, not the trial judge.”)).

       The Court now turns to each of the motions in limine filed by Borden.

III.   DISCUSSION

       A. MOTION IN LIMINE TO PRECLUDE CERTAIN EXPERT TESTIMONY

       Borden’s first motion in limine seeks to preclude certain testimony by Wharton. (Doc.

29; Doc. 36). Borden does not contest Wharton’s expertise or qualifications as an expert;

rather, he challenges the reliability and relevance of certain opinions contained in Wharton’s

expert report. (Doc. 36, at 8). Specifically, Borden argues Mainline should be precluded from

rendering opinions that: 1) “Plaintiff’s employer, Tyoga was ‘required’ to assume liability for

the safe use of the subject conveyor and training personnel pursuant to its contract with

Defendant Mainline, thereby relieving [Defendant] of its own failure to provide the personnel

training it had contractually agreed to provide,” 2) Mainline “was not aware of the risk of

inadvertent activation of the conveyor sensors until after Plaintiff’s accident because Tyoga

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had failed to report the issue to [Defendant],” 3) Mainline “was not ‘required’ to supply any

warning of the risk of automatic startup,” 4) “had the conveyor been equipped and sold with

an audio or visual alarm system, it would have been disabled by Tyoga,” and 5) “Plaintiff’s

accident was the result of failing to utilize controls to deactivate the conveyor or comply with

Tyoga operation and procedures that were only developed by Tyoga after Plaintiff’s

accident.” (Doc. 36, at 8).

       1. Wharton’s opinion that Tyoga was “required” to assume liability for the
          conveyor

       Borden first seeks to preclude Wharton from testifying that “Plaintiff’s employer,

Tyoga was ‘required’ to assume liability for the safe use of the subject conveyor and training

personnel pursuant to its contract with Defendant Mainline, thereby relieving Mainline of its

own failure to provide the personnel training it had contractually agreed to provide.” (Doc.

36, at 8). Borden avers that this opinion is not reliable because Wharton is an engineering

expert, and not an expert on contract interpretation. (Doc. 36, at 11-12). Mainline contends

that this opinion is admissible because Wharton offers this opinion in his expert report based

off Wharton’s four decades of experience as an engineer and in response to a statement by

Daryl L. Ebersole (“Ebersole”), Plaintiff’s engineering expert, that Mainline had a duty to

provide training for the conveyor. (Doc. 43, at 6-7).

       Testimony from an expert in a particular industry may be considered reliable and

admitted if the expert is testifying as to the “customs and practices of a particular industry.”

Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195, 218 (3d Cir. 2006). However, an expert may

not testify as to the law governing the case or as to legal duties arising out of a specific contract.




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See Berckeley Inv. Grp., Ltd., 455 F.3d at 218; see also Allscripts Healthcare, LLC v. Andor Health,

LLC, No. CV 21-704-MAK, 2022 WL 3021560, at *26 (D. Del. July 29, 2022).

       Wharton discusses Tyoga “assum[ing] liability” for the conveyor in a portion of his

report which responds to portions of Ebersole’s report. (Doc. 29-3, at 25). Ebersole’s report

claimed that a purchase quote from Mainline stated that Mainline would provide training on

conveyor’s operation, and in response Wharton states:

       The referenced portion of the quote only said that Mainline’s responsibilities
       were start-up of the system and training of operators. No mention of training
       on safe operation. On the other hand, one of the Conditions of Sale within the
       quote stated under Safety Devices, ‘Purchaser assumes all liability, with respect
       to safety, for the proper use of Seller’s equipment and for the proper training of
       all persons using Seller’s equipment.’ With the equipment having been installed
       in 2018 and Mr. Borden not being hired until 2022, it was up to Tyoga
       supervisors and operators to train Mr. Borden properly and Tyoga was required
       to assume all liability with respect to safety. No evidence has been provided
       that Mainline failed to warn those operators trained initially that they should
       not walk on elevated mesh belt conveyors, at least without locking them out.

       (Doc. 29-3, at 25).

In the above excerpt from Wharton’s report, Wharton asserts that Tyoga “assume[d] all

liability with respect to safety” and his opinion is based on the text of a contract. (Doc. 29-3,

at 25). Wharton is not offering an opinion as to “customs and practices” of the conveyor

manufacturing industry, but rather, is impermissibly interpreting a particular contract. See

Berckeley Inv. Grp., Ltd., 455 F.3d at 216; see also Allscripts Healthcare, LLC, 2022 WL 3021560,

at *26. Accordingly, Borden’s motion to preclude Wharton from testifying that Tyoga “was

‘required’ to assume liability for the safe use of the subject conveyor and training personnel

pursuant to its contract with Defendant” is GRANTED. (Doc. 29).




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       2. Wharton’s opinion that Mainline was “not aware of the risk” of
          inadvertent activation.

       Borden moves to preclude Wharton from testifying that Mainline “was not aware of

the risk of inadvertent activation of the conveyor sensors until after [Borden]’s accident

because Tyoga had failed to report the issue.” (Doc. 36, at 8). Borden argues this opinion is

not reliable because it is based on subjective knowledge and is contradicted by testimony from

Mainline’s representatives. (Doc. 36, at 12-13). Borden further contends that Mainline’s

subjective knowledge is not relevant to a strict products liability suit. (Doc. 36, at 12-13).

Mainline avers that Borden’s motion should be denied because the disputed portions of

Wharton’s report were written in response to Ebersole’s claim that the risk of inadvertent

activation was “foreseeable.” (Doc. 43, at 8).

       Expert testimony is neither reliable nor admissible where it offers an opinion on

individual or entity’s subjective state of mind, beliefs, or knowledge. See Quagliarello v. Dewees,

802 F. Supp. 2d 620, 626 (E.D. Pa. 2011); see also Kula v. United States, No. 4:17-CV-02122,

2021 WL 1600140, at *5 (M.D. Pa. Apr. 23, 2021). However, in the products liability context,

an engineering expert may provide reliable testimony, based on their expertise on engineering,

mechanics, or product design, regarding the safety of a product’s design and the viability of

alternative designs. See Perez v. Townsend Eng’g Co., 545 F. Supp. 2d 461, 464 (M.D. Pa. 2008)

(finding an engineering expert was permitted to testify as to the safety of a skinning machine

design and the safety of a proposed alternative design); see also Knight v. Avco Corp., No. 4:21-

CV-00702, 2024 WL 3746269, at *20-22 (M.D. Pa. Aug. 9, 2024) (finding an engineering

expert could testify as to the safety of a helicopter design).




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       Borden mischaracterizes Wharton’s opinion. Contrary to Borden’s assertion that

Wharton offered an opinion regarding Mainline’s subjective knowledge of the risk of

inadvertent activation, the pages of Wharton’s report to which Plaintiff cites contest a claim

in Ebersole’s report regarding the relevance of workers walking over other types of conveyors.

(Doc. 29-3, at 22-23, 25). Ebersole submits that Mainline should have foreseen workers

walking over the conveyor in question because Tyoga workers walk over other types of

conveyors. (Doc. 29-3, at 22-23, 25; Doc. 36, at 8, 12-13). In response, Wharton argues that

Ebersole’s claim is overly simplistic because the conveyor’s mechanics and design are

different than other conveyors. (Doc. 29-3, at 22-23, 25). Wharton states “[i]t is an over-

simplification to say it should be foreseeable that Tyoga employees would believe it would be

reasonably safe to cross the elevated mesh belt conveyor because of the similarity to the floor-

level mesh belt conveyor. The differences between the conveyors go beyond the elevation

difference.” (Doc. 29-3, at 22). Wharton then discusses the design and functional differences

between this conveyor and other conveyors. (Doc. 29-3, at 22). Wharton’s report is not

opining on subjective knowledge but is discussing the safety of this conveyor’s design as

compared to other types of conveyors. (Doc. 29-3, at 22-23, 25). An engineer may present

reliable testimony on such matters of function, safety, and alternative designs. See Perez, 545

F. Supp. 2d at 464; see also Knight, 2024 WL 3746269, at *20-22. Because Wharton does not

provide an opinion as to Mainline’s subjective awareness of the risk of inadvertent activation,




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Borden’s motion in limine to preclude Wharton from testifying that Mainline “was not aware

of the risk of inadvertent activation” is DENIED.2 (Doc. 29).

       3. Wharton’s opinion that Mainline “was not ‘required’ to supply any
          warning of the risk of automatic startup”

       Borden avers that Wharton’s opinion that Mainline “was not ‘required’ to provide

warning decals to caution of the risk of automatic activation of the Mesh Belt Conveyor” is

unreliable, and he should be precluded from testifying as to this portion of his opinion. (Doc.

36, at 13). According to Borden, a reliable opinion cannot be based on speculation regarding

an individual’s subjective mental state, and Wharton based this opinion in his report on

speculation that the warning “would not have factored into [Plaintiff’s] decision whether or

not to cross the conveyor.” (Doc. 36, at 13). Mainline avers that this opinion is permissible

because it is based on Wharton’s review of Borden’s testimony, as well as his expertise on

conveyors, and is not speculating about Borden’s subjective motivations. (Doc. 43, at 9).

       Expert testimony regarding an individual’s subjective motivations or beliefs is

unreliable and thus, inadmissible. See Quagliarello, 802 F. Supp. 2d at 626 (E.D. Pa. 2011); see

also Kula, 2021 WL 1600140, at *5. Borden disputes the following opinion from Wharton’s

expert report: “[Plaintiff] had been trained that the photoelectric sensors controlled the mesh

belt conveyor movement and knew that prior to his fall. The presence of a warning sticker

that the conveyors start automatically would not have factored into his decision whether or

not to cross the conveyor.” (Doc. 29-3, at 27; Doc. 36, at 13). The phrase “would not have

factored into his decision” indicates Wharton is speculating as to Borden’s objective beliefs,


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        This ruling is without prejudice to Borden raising this motion at the time of trial
should Wharton attempt to testify as to Wharton’s subjective awareness of the risk of
inadvertent activation.
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motivations, and mindset, and such speculation is neither reliable nor admissible. See

Quagliarello, 802 F. Supp. 2d at 626; see also Kula, 2021 WL 1600140, at *5. Accordingly,

Borden’s motion to preclude Wharton from testifying that Mainline “was not ‘required’ to

provide warning decals to caution of the risk of automatic activation of the Mesh Belt

Conveyor” based on his assessment of whether Borden would have heeded such a warning is

GRANTED. (Doc. 29).

       4. Wharton’s opinion that “had the conveyor been equipped and sold with
          an audio or visual alarm system, it would have been disabled by Tyoga”

       Borden seeks to preclude Wharton from testifying that “had the conveyor been

equipped and sold with an audio or visual alarm system, it would have been disabled by

Tyoga.” (Doc. 36, at 14). According to Borden, this opinion is unreliable because it is based

on speculation regarding what Tyoga would have done in a hypothetical scenario. (Doc. 36,

at 14). Mainline avers that Borden is mischaracterizing Wharton’s expert report and argues

that Wharton offered an opinion as to what a workplace would sound like if multiple similar

conveyor systems all had warning alarms. (Doc. 43, at 9).

       The disputed portion of Wharton’s expert report states:

       Because there were two zones of accumulation between the ISOWA and the
       bundle tier, the conveyors have to run to fill the zones and stop when the next
       zone downstream is full. As a result, the conveyors start and stop with every
       single bundle of boxes. A warning that each individual conveyor was going to
       start would result in a cacophony of sound and would be a warning that those
       working nearby would quickly ignore, if they did not disable or mute the
       warning.

       (Doc. 29-3, at 27).

Wharton’s opinion is not that Tyoga would have turned off an alarm system, but rather it is

that typically, multiple sets of conveyors function at the same time and the sounds of alarms


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would be overwhelming if each conveyor is equipped with an alarm. (Doc. 29-3, at 27). An

engineer may reliably testify as to the feasibility or safety of alternative designs. See Perez, 545

F. Supp. 2d at 464; see also Knight, 2024 WL 3746269, at *20-22. Here, Wharton is testifying

as to the feasibility of an alarm warning system based on his knowledge and experience

regarding how conveyors are utilized and function. (Doc. 29-3, at 27). Such testimony is

sufficiently reliable and admissible. See Perez, 545 F. Supp. 2d at 464; see also Knight, 2024 WL

3746269, at *20-22. Because Wharton does not offer an opinion that Tyoga would have

turned off an alarm warning alarm system, Borden’s motion to preclude Wharton from

testifying that Tyoga would have turned off an alarm warning system is DENIED. (Doc. 29).

       5. Wharton’s opinion relying on procedures developed after Borden’s
          accident

       Finally, Borden moves to preclude Wharton from testifying that “Plaintiff’s accident

was the result of failing to utilize controls to deactivate the conveyor or comply with Tyoga

operation and procedures that were only developed by Tyoga after Plaintiff’s accident.” (Doc.

36, at 8). Wharton’s report specifically includes a photograph of a policy that Wharton states

“was probably developed/posted after the subject incident.” (Doc. 29-3, at 20). The parties

agreed during the July 14, 2025, final pre-trial conference that Wharton will not testify as to

any policies developed or posted after Borden’s accident. Accordingly, Borden’s motion to

preclude Wharton from testifying that “Plaintiff’s accident was the result of failing to utilize

controls to deactivate the conveyor or comply with Tyoga operation and procedures that were

only developed by Tyoga after Plaintiff’s accident” is GRANTED. (Doc. 29).




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       B. MOTION IN LIMINE TO PRECLUDE EVIDENCE OF PRODUCT MISUSE AND
           HIGHLY RECKLESS CONDUCT

       Borden’s second motion in limine seeks to preclude all evidence and testimony

suggesting that Borden’s accident was the result of product misuse or highly reckless conduct.

(Doc. 30; Doc. 35). Borden argues that Pennsylvania law bars Mainline from presenting

evidence of product misuse or highly reckless conduct in this strict liability action because

Mainline cannot establish that Borden’s conduct was either outrageous or unforeseeable to

Mainline. (Doc. 35, at 10-12). Borden further avers that evidence of product misuse or highly

reckless conduct must be precluded because Mainline cannot establish Plaintiff’s conduct was

the sole cause of his injuries. (Doc. 35, at 9-15). Mainline counters that it may present

evidence of product misuse or highly reckless conduct because the jury must decide whether

Mainline has met its burden to prove its affirmative defenses. (Doc. 41, at 8-10).

       Federal courts apply Pennsylvania law to determine whether evidence of a plaintiff’s

conduct prior to being injured is admissible in Pennsylvania strict liability suits. Dillinger v.

Caterpillar, Inc., 959 F.2d 430, 445 (3d Cir. 1992) (applying Pennsylvania law). Generally,

“questions of negligence should not be introduced in products liability actions.” Jara v.

Rexworks Inc., 718 A.2d 788, 793 (Pa. Super. Ct. 1998). However, “the defendant is permitted

to introduce evidence that the plaintiff assumed the risk or misused the product, and possibly

may introduce evidence that the plaintiff engaged in highly reckless conduct to defeat a

products liability claim.” Dillinger, 959 F.2d at 445. The defendant bears the burden of proving

these affirmative defenses. See Reott v. Asia Trend, Inc., 618 Pa. 228, 240 (2012); see also Cote v.

Schnell Indus., No. 4:18-CV-01440, 2022 WL 16815032, at *6 (M.D. Pa. Nov. 8, 2022).




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       Product misuse and highly reckless conduct are both affirmative defenses that courts

analyze together. See Reott, 618 Pa. at 244; see also Cote, 2022 WL 16815032, at *6. “Both

misuse and highly reckless conduct involve a plaintiff’s unforeseeable, outrageous, and

extraordinary use of a product.” Reott, 618 Pa. at 243. For a court to admit evidence of product

misuse or highly reckless conduct, a defendant must first present evidence that a plaintiff’s

conduct was “unforeseeable [to the Defendant] or outrageous.” Reott, 618 Pa. at 242 (citing

Childers v. Power Line Equip. Rentals, Inc., 452 Pa. Super. 94, 108 (1996)); see also Cote, 2022

WL 16815032, at *6. To meet this requirement, “the burden is on the defendant to

demonstrate that the injured party or decedent ‘knew or had reason to know of facts which

created a high degree of risk of physical harm to himself or that he deliberately proceeded to

act, or failed to act, in conscious disregard of that risk.’” Reott, 618 Pa. at 250 (quoting Childers,

452 Pa. Super. at 106). Product misuse and highly reckless conduct do not require a plaintiff

to have subjective knowledge that a product was defective. See Reott, 618 Pa. at 243. Even if

a defendant establishes a plaintiff’s conduct was unforeseeable or outrageous, evidence of

product misuse or highly reckless conduct is still inadmissible unless the defendant further

establishes that the plaintiff’s conduct was the sole or superseding cause of the accident. Reott,

618 Pa. at 249; see also Cote, 2022 WL 16815032, at *8. A user's negligent conduct is not

relevant if the product defect contributed in any way to the harm, but where the defense offers

evidence to show that the accident at issue was solely the result of plaintiff's conduct, and not

a defective product, it is relevant and admissible for proving causation. Jara, 718 A.2d at 793.

       The Pennsylvania Supreme Court has determined that the terms “sole cause” and

“superseding cause” are indistinguishable. See Reott, 618 Pa. at 249; see also Cote, 2022 WL

16815032, at *8. To meet the sole or superseding cause requirement, the defendant must show
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that the plaintiff’s injury would have occurred regardless of whether alleged defects in the

suspect product were cured. Jara, 718 A.2d at 794; see also Reott, 618 Pa. at 250; see also Cote,

2022 WL 16815032, at *8. “[M]isuse and causation are questions of fact.” Nathan v. Techtronic

Indus. N. Am., Inc., 92 F. Supp. 3d 264, 275 (M.D. Pa. 2015); see also Cote, 2022 WL 16815032,

at *8. Because of this, courts should not remove questions of product misuse or highly reckless

conduct from the jury unless there is no factual dispute over whether the plaintiff’s highly

reckless conduct or misuse was the sole or superseding cause of the accident. See Cote, 2022

WL 16815032, at *8.

       Mainline has submitted deposition testimony of Borden from which a reasonable jury

may infer that Borden knew walking on the conveyor was unsafe but did so anyway. (Doc.

40-3; Doc. 41, at 5-6). Based on this, there is a question of fact for the jury regarding whether

Borden’s conduct was unforeseeable or outrageous. See Reott, 618 Pa. at 250; see also Cote,

2022 WL 16815032, at *7. However, Mainline is unable to establish that Borden’s conduct

was the sole or superseding cause of his injuries. Jara, 718 A.2d at 794; see also Cote, 2022 WL

16815032, at *8.3 There is no dispute of fact that Borden walked on the conveyor, the



       3
          In Jara v. Rexworks, Inc., the plaintiff was standing on top of a conveyor belt and then
thrown off it when the belt was activated. 718 A.2d at 794. The court found that had the
conveyor belt warned the plaintiff that it was about to start, the plaintiff would have stepped
off and not been thrown. 718 A.2d at 794. Because of this, the defendant could not show
plaintiff’s injuries would have occurred had the products defects been cured. 718 A.2d at 794.
The same logic applies here. Mainline avers Jara is distinguishable because Jara was decided
after a jury already found the suspect conveyor belt to be defective. (Doc. 41, at 9). However,
the Jara court determined that the trial court should not have “submit[ed] the question of
superseding cause to the jury” and this question should have been submitted to the jury prior
to the jury finding a defect. 718 A.2d at 794. Here, Borden’s conduct was not the sole cause
of his injuries because the undisputed facts show the conveyor threw him off without warning
and thus, the conveyor’s lack of warning may have been a contributing factor to the accident.
(Doc. 1-2, at 6-7; Doc. 44, at 3). As such, Mainline is precluded from presenting evidence of
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conveyor activated, and Borden fell after the conveyor started moving. (Doc. 1-2, at 6-7; Doc.

44, at 3). Mainline cannot establish that Borden’s conduct was the sole cause of his injury, or

that the accident would have occurred even if any alleged defects in the conveyor were cured.

Accordingly, Plaintiff’s motion to preclude evidence of highly reckless conduct or product

misuse is GRANTED. (Doc. 30).

       C. MOTION IN LIMINE TO PRECLUDE EVIDENCE OF ASSUMPTION OF RISK

       Borden moves to preclude evidence that he assumed the risk of injuries related to

walking over the conveyor. (Doc. 31). According to Borden, Mainline is precluded from

raising an assumption of risk defense because he was injured in the workplace. (Doc. 33, at

12). Borden further avers that this affirmative defense is precluded because Mainline has not

established Borden had subjective knowledge of the risk of inadvertent activation. (Doc. 33,

at 13). Finally, Borden concludes that Mainline may not present evidence of assumption of

risk because Mainline cannot establish that Borden’s conduct was the sole cause of the

accident. (Doc. 33, at 14-15). Mainline counters that it may present evidence of an assumption

of risk defense because Borden was not required to use the conveyor as part of his

employment. (Doc. 39, at 5-6). Mainline further asserts that there is a question of fact best left

to the jury regarding whether Borden had subjective knowledge about the risks of the

conveyor and whether Borden’s conduct was the sole cause of his injuries. (Doc. 39, at 7-9).

       Assumption of risk is an affirmative defense through which a strict liability defendant

can introduce evidence of a plaintiff’s conduct, and like with highly reckless conduct and

product misuse, the defendant bears the burden of proof. Dillinger, 959 F.2d at 445. The



product misuse or highly reckless conduct. See Reott, 618 Pa. at 249; see also Jara, 718 A.2d at
794; see also Cote, 2022 WL 16815032, at *8.
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assumption of risk defense is precluded where “[a]n employee who is required to use certain

equipment in the course of his employment. . . has no choice in encountering a risk inherent

in that equipment.” Jara, 718 A.2d at 795. A plaintiff may still introduce evidence of

assumption of risk where the injury occurred in the workplace but there is a question of fact

regarding whether the plaintiff was required to use the allegedly defective equipment as part

of his employment. See D’Angelo v. ADS Mach. Corp., 128 F. App’x 253, 256 (3d Cir. 2005)

(nonprecedential); see also Sweitzer v. Oxmaster, Inc., No. CIV.A. 09-5606, 2010 WL 5257226,

at *9 (E.D. Pa. Dec. 23, 2010).

       Before a defendant could present evidence of assumption of risk, “the defendant has

‘the burden of showing the subjective awareness of the defect by the injured party.’” Dillinger,

959 F.2d at 445 (quoting Ellis v. Chicago Bridge & Iron Co., 376 Pa. Super. 220, 237 (1988)); see

also Wagner v. Firestone Tire & Rubber Co., 890 F.2d 652, 658 (3d Cir. 1989). Subjective

awareness may be “proved by circumstantial evidence sufficient to permit an inference that

the user was aware thereof and understood the risk.” Bascelli v. Randy, Inc., 488 A.2d 1110,

1115 (1985); see also Sohngen v. Home Depot U.S.A., Inc., No. CIV.A. 04-1407, 2008 WL

324159, at *3 (W.D. Pa. Feb. 4, 2008). Where a defendant presents sufficient evidence to

create an inference of subjective awareness, “[t]he issue should [be] submitted to the jury upon

proper instructions.” Bascelli, 488 A.2d at 1115; see also Wagner, 890 F.2d at 658; see also

Sohngen, 2008 WL 324159, at *3.

       Borden first argues that under Jara, Mainline may not raise an assumption of risk

defense, because Borden was injured in the workplace. (Doc. 33, at 12). This reading of Jara

is overbroad. 718 A.2d at 795. Jara holds that assumption of risk does not apply where a

plaintiff “is required to use certain equipment in the course of his employment..” 718 A.2d at
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795. A defendant may present evidence of assumption of risk where there is a question of fact

regarding whether the plaintiff was required to use the suspect equipment as part of his

employment. See D’Angelo, 128 F. App’x at 256; see also Sweitzer, 2010 WL 5257226, at *9.

Here, Mainline has presented deposition testimony from which a reasonable jury may infer

that Borden was never required to walk across the conveyor as part of his job as a forklift

operator. (Doc. 38-3, at 13). Accordingly, Mainline is not precluded from presenting an

assumption of risk defense on this basis. See D’Angelo, 128 F. App’x at 256; see also Sweitzer,

2010 WL 5257226, at *9.

       The Court next addresses Borden’s argument that Mainline cannot establish subjective

knowledge and finds that Mainline has presented “circumstantial evidence sufficient to permit

an inference that [Plaintiff] was aware [of the defect] and understood the risk.” Bascelli, 488

A.2d at 1115. Mainline has presented deposition testimony from which a reasonable jury may

infer that Plaintiff was aware that walking across the conveyor was dangerous and that the

conveyor could activate if he triggered a sensor. (Doc. 38-3, at 5-6, 15-16). Based on this, the

question of Borden’s subjective knowledge and awareness of the risk of inadvertent activation

should be decided by the jury. See Bascelli, 488 A.2d at 1115; see also Wagner, 890 F.2d at 658;

see also Sohngen, 2008 WL 324159, at *3.

       Finally, Borden argues that Mainline cannot introduce evidence of assumption of risk

because Mainline cannot show Borden’s conduct was the sole cause of his injuries. (Doc. 33,

at 14-15). This conflates the defenses of product misuse and assumption of the risk.4 While


       4
        Borden cites to the Pennsylvania Superior Court’s decisions in Clark v. Bil-Jax, Inc.
and Jara for the proposition that evidence of assumption of risk is inadmissible where a
defendant cannot show a plaintiff’s conduct is the sole cause of his injury. (Doc. 33, at 14-15).
However, in both cases, the court precluded evidence of assumption of risk because the
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the Pennsylvania Supreme Court has held that highly reckless conduct and product misuse

are subject to the same analysis, assumption of risk is distinct because “assumption of the risk

involves knowledge of the product’s defect where highly reckless conduct [and product misuse

do] not.” Reott, 618 Pa. at 243. Product misuse and highly reckless conduct require a showing

of sole causation because the affirmative defenses only apply where a plaintiff’s conduct is so

unforeseeable or outrageous that it “either caused the injury sustained or superseded the

defective nature of the product.” Reott, 618 Pa. at 245–46. Assumption of risk, by contrast,

turns on whether Borden was subjectively aware of a defect and associated risk, and

deliberately acted anyway. See Bascelli, 488 A.2d at 1115; Reott, 618 Pa. at 243; see also Wagner,

890 F.2d at 658; see also Sohngen, 2008 WL 324159, at *3.

       Because Mainline has presented an issue of fact regarding both whether Borden was

required by his employer to walk over the conveyor and whether Borden was aware of the

risk of inadvertent activation, Mainline is permitted to present evidence of assumption of risk.

See D’Angelo, 128 F. App’x at 256; see also Bascelli, 488 A.2d at 1115; see also Sohngen, 2008


plaintiff was required to use the relevant equipment as part of their employment rather than
because the plaintiff failed to show sole causation. See Clark v. Bil-Jax, Inc., 763 A.2d 920 (Pa.
Super. 2000); see also Jara, 718 A.2d at 795. While the court in Clark stated that “‘evidence of
a plaintiff’s ordinary negligence may not be admitted in a strict products liability action ...
unless it is shown that the accident was solely the result of the user’s conduct” while discussing
assumption of risk, misuse of a product, and highly reckless conduct, assumption of the risk
is not ordinary negligence. Clark, 763 A.2d at 923 (quoting Charlton v. Toyota Indus. Equip.,
714 A.2d 1043, 1047 (Pa. Super. 1998)); Robinson v. B.F. Goodrich Tire Co., 664 A.2d 616, 618
(1995) (stating “[i]t has been said that assumption of the risk and contributory negligence may
sometimes overlap because certain conduct may exhibit the elements of both. In general,
however, the concepts are distinguishable” (citations omitted)). Assumption of risk involves
a plaintiff deliberately acting despite knowing about a specific risk of danger from a defect,
whereas ordinary negligence involves an individual acting without due care. See Robinson, 664
A.2d at 618. Sole causation is not an element of an assumption of risk defense. See Robinson,
664 A.2d at 618; See Bascelli, 488 A.2d at 1115; see also Wagner, 890 F.2d at 657; see also
Sohngen, 2008 WL 324159, at *3.
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WL 324159, at *3. Accordingly, Borden’s motion to preclude evidence of assumption of risk

is DENIED. (Doc. 31).

       D. MOTION IN LIMINE TO PRECLUDE EVIDENCE BORDEN’S DUI CONVICTION

       Borden’s fourth motion in limine seeks to preclude evidence that Borden was

previously convicted of driving under the influence (“DUI”). (Doc. 32). Mainline does not

oppose this motion, and the motion is GRANTED. (Doc. 32).

IV.    CONCLUSION

       For the foregoing reasons, the motions in limine to preclude evidence of product misuse

or highly reckless conduct (Doc. 30) and to preclude evidence of Borden’s prior DUI

conviction (Doc. 32) are GRANTED. The motion in limine to preclude evidence of

assumption of risk (Doc. 31) is DENIED. The motion in limine to exclude expert testimony

(Doc. 29) is GRANTED as to (1) Wharton’s opinion that Tyoga was “required” to assume

liability; (2) Wharton’s opinion that Defendant was not required to provide warnings of the

risk of inadvertent activation because Plaintiff would not have heeded such warnings; and (3)

Wharton’s opinions as informed by policies not developed until after Plaintiff’s accident. The

motion is DENIED as to (1) Wharton’s opinion regarding Defendant’s subjective awareness

of the risk of inadvertent activation; and (2) Wharton’s opinion regarding whether Tyoga

would have turned off an alarm system. An appropriate Order follows.



                                                  BY THE COURT:



Dated: July 21, 2025                              s/ Karoline Mehalchick
                                                  KAROLINE MEHALCHICK
                                                  United States District Judge
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